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              UNITED STATES DISTRICT COURT

              SOUTHERN DISTRICT OF GEORGIA

                       STATE SBORO DIVISION


UNITED STATES OF AMERICA            )
                                    )




V.                                  )      Case No. CR612-018
                                    )



ANTONIO MARQUETTE MANGRAM, )
                                    )



      Defendant.                    )


                   REPORT AND RECOMMENDATION

      Antonio Mangram, convicted of possession with intent to distribute

cocaine, has filed a motion to set aside the government's "civil" forfeiture

of $25,000 in cash. (Doe. 1010.) He claims that the forfeiture was

invalid because "no hearing or notice was administrated to claimant."

(Id. at 1.) The government responds that it seized $25,427 in currency

from his residence as the ill-gotten gains from his drug distribution

business. (Doe. 1011 at 1-2.) It contends that it was also within its

rights to confiscate his home as property that facilitated the charged

offenses.   (Id. at 2.) Mangram's plea negotiations led the government to

forego any forfeiture action against his home.        (Id. at 3.) And in
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exchange for the government's forbearance, Mangram signed a consent

order of forfeiture for the currency on the same day that he entered his

plea. (Doc. 685.) That order expressly allowed the government to seize

the funds.   (Id.) The government thus argues that Mangram had his

day in court and that the motion should therefore be denied. (Doe. 1011.)

     The funds were subject to an order of criminal forfeiture (doe. 685 at

2), not a forfeiture under the Civil Asset Forfeiture Reform Act of 2000

cited by Mangram in his brief. (Doe. 1010 at 1.) There is no

requirement that a hearing be held on an uncontested criminal forfeiture.

The Federal Rules of Criminal Procedure provide that "[t]he court's

determination may be based on evidence already in the record, including a

written plea agreement, and on any additional evidence or information

submitted by the parties and accepted by the court as relevant and

reliable." Fed. R. Crim. P. 32.2(b)(1)(B). As the forfeiture was

uncontested, there was no need for a "hearing or notice." Indeed,

Mangram's only avenue for relief was to appeal the forfeiture order. A

"criminal forfeiture is part of the defendant's sentence and must be

challenged on direct appeal or not at all."   Young v. United States, 489

                                     2
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F.3d 313 7 315 (7th Cir. 2007). Mangram waived his right to appeal his

conviction and sentence. (Doc. 851 (plea agreement).) And even if he

had not done so, the notice of appeal had to be filed within 14 days of the

entry of judgment. Fed. R. Crim. P. 32.2(b)(4)(C) (citing Fed. R. App. P.

4(b)). That time period lapsed long before this motion was filed.

      For all of the reasons explained above, Mangram's motion to set

aside the currency forfeiture (doc. 1010) should be DENIED.'

      SO REPORTED AND RECOMMENDED this                                 //    day of

February, 2015.



                                              UNITED ST ~TV-S MAGISTRATE JUDGE
                                              SOUTHERN DISTRICT OF GEORGIA




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        Mangram also invokes Fed. R. Crim. P. 41(g), which provides a mechanism for
recovering property that the government has taken as evidence. (Doc. 1010.) That
provision, however, cannot be used to recover property that has been forfeited to the
government. E.g., Young, 489 F.3d at 315.
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